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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------X
ASCENT: A SCHOOL FOR INDIVIDUALS WITH
AUTISM; NASSAU SUFFOLK SERVICES FOR THE
AUTISTIC; D.H. and T.H., individually and
as next friends on behalf of their child
B.H.;T.D. and A.D., individually and as
next friends on behalf of their child A.D.;
P.M., individually and as next friend on
behalf of her child R.M.; M.C. and K.C.,
individually and as next friends on behalf
of their child A.B.; M.H and F.H.,
individually and as next friends on behalf
of their child A.H.; and M.C. and M.C.,
individually and as next friends on behalf
of their child T.C.,

                              Plaintiffs,
                                                      MEMORANDUM & ORDER
            -against-                                 17-CV-6866(JS)(ARL)

NEW YORK STATE EDUCATION DEPARTMENT;
MARYELLEN ELIA, in her official capacity
as New York State Commissioner of Education;
and KAREN NELSEN and JULIA NAGLE, in their
official capacities as Regional Associates
of the New York State Education Department,

                         Defendants.
-----------------------------------------X
APPEARANCES
For Plaintiff:      Frederick J. Berman, Esq.
                    Jacob Seth Claveloux, Esq.
                    Matthew J. Delforte, Esq.
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For Defendants:         Dorothy O. Nese, Esq.
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SEYBERT, District Judge:

            Plaintiffs filed this action on November 22, 2017, and

Defendants moved to dismiss on March 9, 2018. On October 17, 2018,

the motion was referred to Magistrate Judge Arlene R. Lindsay for

a Report and Recommendation on whether it should be granted, and

the case was then reassigned to the undersigned.

            Before the Court are: (1) Defendants’ motion to dismiss,

(Mot., D.E. 11); (2) Judge Lindsay’s Report and Recommendation

dated March 4, 2019 (the “R&R”) recommending dismissal of this

action, (R&R, D.E. 24), and (3) Plaintiffs’ objections to the R&R

(“Objections”), (Obj., D.E. 26).          For the reasons set forth below,

Plaintiffs’ Objections are OVERRULED and Judge Lindsay’s R&R is

ADOPTED to the extent indicated herein, and Defendants’ motion is

GRANTED.

                                 BACKGROUND

            The   Court    assumes   familiarity     with   the   procedural

history of this matter, as well as with the Complaint, (Compl.,

D.E. 1), the parties’ briefs in connection with the motion to

dismiss, (Defs. Br., D.E. 11-1; Pls. Opp., D.E. 16; Defs. Reply,

D.E. 18), the R&R, the Objections, and Defendants’ opposition to

the Objections, (Defs. Opp., D.E. 28).

                                 DISCUSSION

            “When evaluating the report and recommendation of a

magistrate judge, the district court may adopt those portions of

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the report to which no objections have been made and which are not

facially erroneous.”                                           Walker v. Vaughan, 216 F. Supp. 2d 290, 291

(S.D.N.Y. 2002) (citation omitted).                                            A party may serve and file

specific, written objections to a magistrate judge’s report and

recommendation within fourteen days of being served with the

recommended disposition.                                            See FED. R. CIV. P. 72(b)(2).        Upon

receiving                       any             timely           objections   to   the   magistrate   judge’s

recommendation, the district court “may accept, reject, or modify,

in whole or in part, the findings or recommendations made by the

magistrate judge.”                                        28 U.S.C. § 636(b)(1)(C); see also FED. R. CIV.

P. 72(b)(3).                              The Court conducts a de novo review of any portion

of the report and recommendation to which a party objects. Walker,

216 F. Supp. 2d at 292.

I.            The School Plaintiffs’ IDEA and Section 1983 Claims are
              Dismissed with Prejudice

                             Plaintiffs object to Judge Lindsay’s finding that the

School Plaintiffs have no private right of action under the IDEA.1

(Obj. at 6-11; R&R at 14-16.)




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1 The Objections construe the R&R’s recommendation on this point
as an issue of “standing.” (Obj. at 6.) To clarify, the R&R
concludes that the School Plaintiffs have alleged an injury in
fact for Article III standing purposes. (See R&R at 13-14.)
The Article III standing inquiry, however, is separate from
whether “a plaintiff [ ] ha[s] a cause of action under the
applicable statute.” Am. Psychiatric Ass’n v. Anthem Health
Plans, Inc., 821 F.3d 352, 358-59 (2d Cir. 2016).
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            The Court agrees with the R&R’s conclusion that the

School Plaintiffs may not bring a cause of action under the IDEA.

See Fry v. Napoleon Cmty. Sch., 137 S. Ct. 743, 755, 197 L. Ed. 2d

46 (2017) (“[T]he only ‘relief’ the IDEA makes ‘available’ is

relief for the denial of a FAPE [(free and appropriate public

education)].”).      In County of Westchester v. New York, 286 F.3d

150 (2d Cir. 2002), the Second Circuit explained:

                  Since Congress expressly provided a
            private right of action in favor of certain
            groups, specifically, any party aggrieved by
            particular findings or a decision rendered
            under        subsection       1415,        see
            20 U.S.C. § 1415(i)(2)(A),    but    did   not
            expressly provide a private right of action in
            favor of a county, educational agency or any
            other entity seeking to challenge the lack of
            an    interagency   agreement    required   by
            § 1412(12), we find it extremely unlikely that
            Congress intended to do so. . . .

                 The   fact    that   Congress   delegated
            regulatory and enforcement authority to the
            Secretary of Education also weighs heavily
            against   implying    a   private   right   of
            action. . . .   [G]ranting broad powers to a
            federal agency “would be inconsistent with
            [implying] a private right of action because
            private   litigation    tends    to   transfer
            regulatory interpretation and discretion from
            the agency to the courts.”

Id. at 152-53 (citations omitted) (second alteration in original).

            Plaintiffs’     argument   that   County   of   Westchester    is

limited to its facts is unconvincing. Congress explicitly provided

a right of action in favor of a party “aggrieved by particular



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findings or a decision rendered under subsection 1415.”2                                                Id. at

152. Congress did not explicitly provide a private right of action

in favor of providers, like the School Plaintiffs, to enforce other

provisions of the IDEA. Therefore, the Court “find[s] it extremely

unlikely                     that              Congress         intended    to   do    so.”      See   Cty.    of

Westchester, 286 F.3d at 152; see also, e.g., E. Ramapo Cent. Sch.

Dist., 2013 WL 5508392, at *6 (compiling cases) (“[C]ourts agree[ ]

that the IDEA provides rights only to certain groups--parents and

students--and not to school districts.”).                                             Plaintiffs’ reliance on

a       district                     court               case   predating   County      of    Westchester,    the



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2 The Southern District of New York summarized the relevant
subsections of the IDEA as follows:

                             20 U.S.C. § 1415(i)(2)(A) provides a “[r]ight
                             to bring civil action” for “[a]ny party
                             aggrieved by the findings and decision made
                             under    subsection   (f)   or   (k) . . . .”
                             20 U.S.C. § 1415(i)(2)(A). Subsection (f) of
                             Section 1415 allows for an “[i]mpartial due
                             process hearing” regarding matters raised in
                             a complaint filed either pursuant to Section
                             1415(b)(6)(A) (“any matter relating to the
                             identification, evaluation, or educational
                             placement of the child, or the provision of a
                             free appropriate public education to such
                             child”) or Section 1415(k)(3)(A) (hearing
                             regarding placement in alternative education
                             setting when child violates student code of
                             conduct).    Section (k) generally sets out
                             procedures for placement of and services for
                             students who violate the student code of
                             conduct.

E. Ramapo Cent. Sch. Dist. v. DeLorenzo, No. 13-CV-1613 CS, 2013
WL 5508392, at *5 n.5 (S.D.N.Y. Oct. 3, 2013).
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reasoning of which runs counter to that of County of Westchester,

is misplaced.      (Obj. at 7-8); compare Cty. of Westchester, 286

F.3d at 153 (“We refuse to imply a private cause of action in the

absence of clear congressional intent and in the face of an express

allocation of enforcement authority to (1) those aggrieved in

section 1415 proceedings and (2) the Secretary of Education.”),

with Brooklyn Sch. for Special Children v. Crew, No. 96-CV-5014,

1997 WL 539775, at *9 (S.D.N.Y. Aug. 28, 1997) (“The fact that

disabled children and their parents are entitled to bring suits

does not disentitle providers from suing . . . .”).            Accordingly,

Plaintiffs’ Objections on this point (Obj. at 6-11) are OVERRULED,

the relevant portion of the R&R (R&R at 13-16) is ADOPTED, and the

School Plaintiffs’ first and fifth claims are DISMISSED WITH

PREJUDICE.

             The School Plaintiffs may not circumvent the lack of an

implied IDEA cause of action by bringing the claim pursuant to

Section 1983.     See Gonzaga Univ. v. Doe, 536 U.S. 273, 286, 122 S.

Ct. 2268, 2277, 153 L. Ed. 2d 309 (2002) (“[W]here the text and

structure of a statute provide no indication that Congress intends

to create new individual rights, there is no basis for a private

suit, whether under § 1983 or under an implied right of action.”).

Because the IDEA does not provide the School Plaintiffs with

individually      enforceable      rights,     the    School     Plaintiffs’

Section 1983 claims--premised on Defendants’ alleged violation of

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those purported rights--fail.          See E. Ramapo Cent. Sch. Dist.,

2013 WL 5508392, at *6 (citations omitted) (“[T]o the extent that

the District’s argument suggests that the standard for determining

whether a right is enforceable under Section 1983 differs from, or

is less stringent than, the test for whether a statute itself

creates a private right of action, . . . the Supreme Court has

explicitly rejected this assertion”).         Accordingly, the Objections

on this point (Obj. at 17) are OVERRULED, the relevant portion of

the R&R (R&R at 19) is ADOPTED, and the School Plaintiffs’ second

and sixth claims are DISMISSED WITH PREJUDICE.

            The Court echoes the R&R’s conclusion that this matter

is well suited for resolution through an Article 78 proceeding.

(R&R at 15-16.)      “An Article 78 proceeding is the proper vehicle

to determine whether the law has been lawfully applied, or the

validity of certain government acts pursuant to a valid statute,

rather than a vehicle for challenging the validity of a statute

itself.”     Bldg. Indus. Elec. Contractors Ass’n v. City of N.Y.,

No. 10-CV-8002, 2011 WL 3427138, at *14 (S.D.N.Y. Aug. 5, 2011)),

aff’d, 678 F.3d 184 (2d Cir. 2012).          Plaintiffs do not challenge

the validity of any laws or regulations, but instead, challenge

whether Defendants are properly applying them.          (See, e.g., Compl.

¶¶ 171-72, 193-95, 224-25, 239-43, 255, 259-66.)              To the extent

they seek to the challenge Defendants’ policies as inconsistent

with federal law, they may do so in an Article 78 proceeding.             See

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Kircher v. Perales, 112 A.D.2d 431, 432, 492 N.Y.S.2d 91, 93 (1985)

(“Although     respondents’       interpretation        of   the    statute   would

normally be entitled to great weight, we decline to accept that

interpretation in this case because to do so would render the

statute inconsistent with Federal law and thus would be violative

of the Supremacy Clause.”).

II.     The Parent Plaintiffs’ Claims are Dismissed Without Prejudice

             The Court lacks subject matter jurisdiction over the

Parent Plaintiffs’ claims under IDEA (claims one and five), section

504 of the Rehabilitation Act (claim three), and Section 1983

(claims two and six), because the Parent Plaintiffs lack standing

to assert the claims.       “‘A case is properly dismissed for lack of

subject matter jurisdiction under Rule 12(b)(1) when the district

court lacks the statutory or constitutional power to adjudicate

it.’”    (R&R at 8 (quoting Makarova v. United States, 201 F.3d 110,

113 (2d Cir. 2000)).)       “‘[T]he court must take all facts alleged

in the complaint as true and draw all reasonable inferences in

favor of plaintiff, but jurisdiction must be shown affirmatively,

and   that   showing   is   not    made       by   drawing   from   the   pleadings

inferences favorable to the party asserting it.’”                         (R&R at 8

(quoting Morrison v. Nat’l Austl. Bank Ltd., 547 F.3d 167, 170 (2d

Cir. 2008) (alteration in original), aff’d, 561 U.S. 247, 130 S.

Ct. 2869, 177 L. Ed. 2d 535 (2010)).)



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              Article      III   of    the   U.S.        Constitution       restricts    the

jurisdiction          of     federal     courts           to     “‘actual        cases   or

controversies.’”           Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547,

194 L. Ed. 2d 635 (2016) (quoting Raines v. Byrd, 521 U.S. 811,

818, 117 S. Ct. 2312, 2317, 138 L. Ed. 2d 849 (1997)).                            Standing

to sue, “a doctrine rooted in the traditional understanding of a

case or controversy,” “limits the category of litigants empowered

to maintain a lawsuit in federal court to seek redress for a legal

wrong.”    Id. (citing Valley Forge Christian Coll. v. Ams. United

for Separation of Church & State, Inc., 454 U.S. 464, 473, 102 S.

Ct. 752, 759, 70 L. Ed. 2d 700 (1982); Warth v. Seldin, 422 U.S.

490, 498–99, 95 S. Ct. 2197, 2205, 45 L. Ed. 2d 343 (1975)).

              To     establish    standing,          a    plaintiff      “must    have   (1)

suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.”                          Id.     An injury in

fact   must     be    “‘concrete       and   particularized’            and    ‘actual   or

imminent, not conjectural or hypothetical.’”                         Id. at 1548 (quoting

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130,

2136, 119 L. Ed. 2d 351 (1992)).

              With respect to their alleged injury in fact, the Parent

Plaintiffs      are    not    challenging        a       local   educational      agency’s

failure to issue an appropriate individualized education plan

(“IEP”)    or      otherwise     provide     a   free          and   appropriate    public

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 education (“FAPE”): “Plaintiff Parents are perfectly happy with

 their               children’s                         present   IEPs,    which   require   full   ABA-based

 instruction, with no related services.”                                           (Obj. at 12.)    Instead,

 they allege that Defendants’ enforcement of its policies and audit

 findings (“Policies”) against the School Plaintiffs would harm the

 Parent Plaintiffs by denying their children a “FAPE on a systemic

 basis.”3                    (Obj. at 12.)                      According to the Parent Plaintiffs, that

 harm could occur in one of two ways.

                              First, if the School Plaintiffs decide not to implement

 the required changes, then the School Plaintiffs may lose public

 funding or be subjected to other sanctions.                                           (Compl. ¶ 196.)    If

 the School Plaintiffs lose public funding, they would close, and

 the Parent Plaintiffs’ children would have to change schools.

 (Compl. ¶¶ 197, 199.) If the children cannot be placed in suitable

 schools, they will be denied a FAPE.                                         (Compl. ¶¶ 198-200.)




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 3 To the extent the Parent Plaintiffs would argue that
 Defendants’ anticipated denial of a FAPE to their children is
 both the alleged harm and the challenged action, and that
 Defendants’ enforcement of the Policies against the School
 Plaintiffs is not the challenged action, their claims would not
 be ripe for adjudication for the same reasons discussed in this
 section. See Nat’l Org. for Marriage, Inc. v. Walsh, 714 F.3d
 682, 688 (2d Cir. 2013) (observing that the constitutional
 requirement of an injury in fact overlaps with whether an issue
 is ripe); see also Somoza v. N.Y. City Dep’t of Educ., 538 F.3d
 106, 115 (2d Cir. 2008) (concluding “that plaintiff’s claims
 were ripe at the time she discovered the alleged denials of a
 FAPE”).
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                              This feared harm is overly speculative.                                Defendants

 might not revoke the School Plaintiffs’ approved-provider status

 and funding eligibility, in which case the School Plaintiffs would

 remain open. Or, if the School Plaintiffs prevail in their Article

 78 proceeding, they would not lose funding eligibility or be forced

 to close.4                          Or, even if the School Plaintiffs close, the Parent

 Plaintiffs’                          children                  could   be   placed   in   schools   capable   of

 implementing their IEPs.                                          See M.O. v. N.Y. City Dep’t of Educ.,

 793 F.3d 236, 244-45 (2d Cir. 2015) (allowing challenges to

 proposed placement schools when they are based on more than

 speculation); see also A.S. v. Bd. of Educ. Shenendehowa Cent.

 Sch. Dist., No. 17-CV-0501, 2019 WL 719833, at *10 (N.D.N.Y.

 Feb. 20, 2019) (citations omitted) (“‘[P]arents are not entitled

 to choose an educational methodology under the IDEA.’ . . .                                              [T]he

 [State Review Officer] did not err in finding that [the student]

 had no right to an exclusively ABA-based IEP [ ].”).                                                In each of

 these scenarios, the Parent Plaintiffs’ children would not have

 been denied a FAPE.


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 4 Additionally, though they cite no authority in support of the
 assertion, Defendants provide that the School Plaintiffs would
 be allowed an opportunity for an administrative hearing before
 NYSED revoked their program approval. (Defs. Reply at 5 (“In
 the first place, NYSED does not ‘revoke program approval’ and
 ‘cut off funding’ instantaneously. In the absence of the
 instant lawsuit and in the normal course of events, if NYSED
 were to revoke program approval for the schools, Plaintiffs
 would be accorded due process rights through an administrative
 hearing, if they requested one.”).)
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             Second, if the School Plaintiffs implement the changes-

 -which is unlikely at this stage given that they intend to pursue

 an Article 78 proceeding (see Obj. at 19)--a “few” students, but

 not the Parent Plaintiffs’ children, would be provided with related

 services during the school day (Compl. ¶¶ 157, 162, 201-02).              The

 students    who    would    receive    related    services    could     cause

 disruptions because aides could show up late, be absent, or have

 tolerance levels different from those of the School Plaintiffs’

 instructors.      (Compl. ¶¶ 85-86, 93-94, 208-09, 213, 217.)           These

 students’ inappropriate behaviors or other alterations to these

 students’ schedules could disrupt the Parent Plaintiffs’ children.

 (Compl. ¶¶ 86, 94, 204-22.)       These disruptions or the enforcement

 of the other Policies at issue could result in the denial of a

 FAPE.   (See Compl. ¶ 274, 307-08.)

             As with the first scenario, this potential harm is too

 hypothetical.      Initially, it appears that the School Plaintiffs

 will pursue an Article 78 proceeding rather than immediately comply

 with the required changes.        (See Obj. at 19.)      In any event, the

 related services providers could appreciate the delicacy of the

 students’ schedules and arrive on time, or secure coverage if they

 anticipate being late or absent.           Or, any disruptions caused by

 related services providers could be insignificant or infrequent.

 Or, the School Plaintiffs could determine a way implement the

 changes without significantly disrupting the students.                In each

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 case, the Parent Plaintiffs’ children could still receive a FAPE-

 -“an education ‘likely to produce progress, not regression,’ and

 one that ‘afford[s] the student with an opportunity greater than

 mere trivial advancement.’”          T.K. v. N.Y. City Dep’t of Educ., 810

 F.3d 869, 875 (2d Cir. 2016) (alteration in original) (quoting

 M.O., 793 F.3d at 239); A.S., 2019 WL 719833, at *10; see also

 J.R. v. N.Y. City Dep’t of Educ., 748 F. App’x 382, 386 (2d Cir.

 2018)   (citation        omitted)   (emphasis    in    original)      (“The    IDEA

 requires     an    appropriate      education,     not    one      that    provides

 ‘everything that might be thought desirable by loving parents.’”).

              Further, at this stage, the Court cannot resolve whether

 exhaustion    of    administrative      remedies      would   be    required    and

 whether Defendants would be proper parties to an action challenging

 the denial of a FAPE.        In the first scenario, a FAPE may be denied

 at another school for reasons unrelated to Defendants’ enforcement

 of the Policies; exhaustion may be necessary and Defendants may

 not be proper parties. (See R&R at 16-19.) In the second scenario,

 a FAPE may be denied because of Defendants’ enforcement of the

 Policies; exhaustion may be futile and Defendants may be proper

 parties.   Heldman v. Sobol, 962 F.2d 148, 158 (2d Cir. 1992).                 This

 uncertainty underscores that the Parent Plaintiffs lack standing

 to challenge Defendants’ enforcement of the Policies.

              As    the    above     discussion   illustrates,        the      Parent

 Plaintiffs’ feared injury from Defendants’ enforcement of the

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 Policies against the School Plaintiffs is not actual or imminent,

 but conjectural and hypothetical, and the Parent Plaintiffs do not

 have Article III standing.5                                            Accordingly, the Parent Plaintiffs’

 claims are DISMISSED WITHOUT PREJUDICE.

                              Considering this disposition and the reasoning set forth

 above, the Court does not reach the R&R’s and the Objections’

 discussions of Eleventh Amendment immunity (R&R at 20-22; Obj. at

 18-19), exhaustion, or whether Defendants--as opposed to a local

 educational agency--are proper parties to this action (R&R at 16-

 19; Obj. at 11-16).

 III. The School Plaintiffs’ Article 78 Claims are Dismissed
      Without Prejudice

                              Because                   the     Court   has   dismissed   all   federal   claims

 asserted by Plaintiffs, the Court ADOPTS the R&R’s recommendation

 that the Court decline to exercise supplemental jurisdiction over



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 5 The result does not change merely because the Parent Plaintiffs
 assert their claims under the Declaratory Judgment Act.
 Mitskovski v. Buffalo & Fort Erie Pub. Bridge Auth., 415 F.
 App’x 264, 266-67 (2d Cir. 2011). The Declaratory Judgment Act
 provides that “[i]n a case of actual controversy within its
 jurisdiction, . . . any court of the United States . . . may
 declare the rights and other legal relations of any interested
 party seeking such declaration, whether or not further relief is
 or could be sought.” 28 U.S.C. § 2201(a) (emphasis added). A
 “case of actual controversy” “refers to the type of ‘Cases’ and
 ‘Controversies’ that are justiciable under Article III.”
 MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 126-27, 127 S.
 Ct. 764, 771, 166 L. Ed. 2d 604 (2007) (citations omitted).
 Because the Parent Plaintiffs lack Article III standing, they
 lack “a case of actual controversy” required by the Declaratory
 Judgment Act.
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 the Article 78 claims.       (R&R at 22; see Obj. at 19 (“Insofar as

 this recommendation is predicated on the Court’s adopting the

 Report’s recommendations that all federal law claims asserted in

 the Complaint be dismissed, . . . Plaintiffs do not object to this

 recommendation.”).)      Accordingly, the School Plaintiffs’ Article

 78 claims (the fourth and seventh causes of action) are DISMISSED

 WITHOUT PREJUDICE.

                                  CONCLUSION

              For the foregoing reasons, Plaintiffs’ Objections (D.E.

 26) are OVERRULED and Judge Lindsay’s R&R (D.E. 24) is ADOPTED to

 the extent indicated herein, and Defendants’ motion to dismiss

 (D.E. 11) is GRANTED. The School Plaintiffs’ IDEA and Section 1983

 claims (their first, second, fifth, and sixth causes of action)

 are DISMISSED WITH PREJUDICE and their Article 78 claims (their

 fourth   and   seventh    causes   of    action)   are   DISMISSED   WITHOUT

 PREJUDICE to refiling in state court. The Parent Plaintiffs’ IDEA,

 Rehabilitation Act, and Section 1983 claims (their first, second,

 third, fifth, and sixth causes of action) are DISMISSED WITHOUT

 PREJUDICE.




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             The   Clerk   of   the   Court    is   directed   enter   judgment

 accordingly and mark this case CLOSED.



                                              SO ORDERED.



                                              /s/ JOANNA SEYBERT______
                                              Joanna Seybert, U.S.D.J.

 Dated:      March 31 , 2019
             Central Islip, New York




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